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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )              Case No. 8:11MJ40
                     Plaintiff,               )
                                              )
       vs.                                    )
                                              )                     ORDER
ALBERTO VILLALBA-LOPEZ,                       )
                                              )
                     Defendant.               )


       This matter is before the court on the defendant's Motion to Review Detention (#27).
The defendant's motion proposes that the defendant be released to live with his wife and
children in West Point, Nebraska. The motion is denied.
       The motion fails to address the court's concerns as set out in its March 3, 2011
Detention Order (#20). Specifically, the court is concerned about the defendant's illegal
alien status, the presence of an immigration detainer notice of action naming the defendant,
and the court's belief, based upon the current charges, that the Immigration Court will not
consider him for release. Additionally, the proposed release fails to rebut the presumption
of detention under 18 U.S.C. § 3142(e). Because the information in the Motion to Review
Detention fails to rebut the presumption of detention and because it is the court's belief the
defendant would not be subject to bond in the Immigration Court, I find the defendant
should remain detained.
       IT IS ORDERED that defendant's Motion to Review Detention (#27) is denied
without hearing.
       Dated this 14th day of March 2011.
                                           BY THE COURT:


                                           s/ F.A. Gossett, III
                                           United States Magistrate Judge
